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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                              )
DISTRIBUTION SYSTEMS, LLC,                        )
                                                  )
                     Plaintiff,                   )
                                                  )
      v.                                          ) C.A. No. 20-666 (MN)
                                                  )
BOOST WORLDWIDE, LLC,                             )
                                                  )
                     Defendant.                  )

                    STIPULATION AND [PROPOSED] ORDER TO
                  SUBSTITUTE DEFENDANT AND AMEND CAPTION

       WHEREAS, Plaintiff’s original Complaint (D.I. 1) named Boost Worldwide, LLC

(“Boost”) as the sole defendant;

       WHEREAS, Boost is not a relevant operating entity with respect to the acts alleged in

Plaintiff’s Complaint;

       WHEREAS, the acts alleged in Plaintiff’s Complaint, to the extent that Boost understands

them, would be attributable to SprintCom, Inc. (“SprintCom”);

       WHEREAS, Boost and SprintCom desire to substitute SprintCom, Inc. for Boost

Worldwide, LLC without any admission as to the truth or falsity of the allegations in Plaintiff’s

Complaint;

       WHEREAS, SprintCom will not object to relevant, non-privileged discovery on the basis

that the information, documents, witnesses, or other evidence sought is outside its control, when

such information is within the possession, custody, or control of Boost;

       WHEREAS, SprintCom will not seek to avoid liability for any of the acts alleged in the

Complaint on the basis that the functionality accused of infringement is performed by a different

subsidiary of Sprint Corporation;
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       WHEREAS, Boost will not file a declaratory judgment action during the pending litigation

relating to the claims asserted in the Complaint against Boost in this action;

       WHEREAS, the below stipulation is made in reliance on the representations, warranties,

and agreements made by SprintCom and Boost described herein;

       IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that

SprintCom, Inc. is substituted as the defendant in this action in place of Boost Worldwide, Inc.,

and the caption shall be amended as follows: Rothschild Broadcast Distribution Systems, LLC v.

SprintCom, Inc., C.A. No. 20-666 (MN).



CHONG LAW FIRM, P.A.                              POLSINELLI PC

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Distribution Systems, LLC
                                                  Attorneys for Defendant Boost Worldwide, LLC
                                                  and SprintCom, Inc.

June 30, 2020

       SO ORDERED this _____ day of _______________, 2020.



                                              United States District Judge




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